Case 3:20-cv-16458-ZNQ-TJB   Document 23-2   Filed 10/19/21   Page 1 of 38 PageID:
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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 George T. Dougherty, Esquire (247791969)
 KATZ & DOUGHERTY, LLC
 4020 Quakerbridge Road
 Trenton, New Jersey 08619
 609—587—1199
 Attorneys for Plaintiffs, Laraine Conte
 And Janet Guarino

 LARAINE CONTE AND JANET     :   Civil Action No:   3:20-cv-16458-ZNQ-TJB
 GUARINO,

       Plaintiffs,

 Vs.                         :    Returnable:    November 1,     2021

 SAM SHEAR and MIKE
 WINBERG, Individually
 and as Principals,
 Managers of def.
 PEMIER WATERPROOFING LLC:
 And JOHN DOE and ABC CO.:



                      CERTIFICATION OF JANET GUARINO




 Janet Guarino,   of full age,    certifies as follows:

    1. 1 am a plaintiff in the within lawsuit.

    2. 1 have previously signed a Certification in this matter on

       December 10,   2020 which I have recently reviewed and affirm

       all of the statements set forth       (Exhibit A).

   3. I make this Certification in support of my opposition to

       the defendants’ motion for an order compelling me to submit

       to arbitration pursuant to a provision in the defendants’
Case 3:20-cv-16458-ZNQ-TJB    Document 23-2    Filed 10/19/21   Page 2 of 38 PageID:
                                      609


         unsigned ‘Proposa1” which had been prepared by defendants

         for my sister, Laraine Conte on February 26,           2018.

    4.    Contrary to the representation made to this court by

         defendant Mike Winberg,    I never offered or agreed to be

         responsible to defendants or to any third party to pay for

         any services rendered by the defendants.

    5. My sole undertaking was to enter into a GreenSky Merchant

         Program Agreement to borrow the money necessary to enable

         my sister to engage the defendants’ home improvement

         services,   the total price of which was to be $21,000.

    6. A major reason for engaging GreenSky as the source of my

         sister’s project financing was defendant Winberg’s

         representation that GreenSky did not require me to be a

         member of the Conte household or a party to the defendant’s

         proposed contract.

    7. I was present when defendants’         Proposal dated February 16,

         2018 was received by my sister,      on which Laraine Conte was

         the sole name of the contract purchaser and the total

         contract price was $21,000.00.

    8. At our meeting defendant Winberg in the presence of myself

         and sister, Terry,   advised us that he would draw up a

         proposal for mold removal, which would include the removal

         of contaminated items in our basement.
Case 3:20-cv-16458-ZNQ-TJB    Document 23-2   Filed 10/19/21   Page 3 of 38 PageID:
                                      610


    9. To emphasize his point about the dangerous condition of the

          basement, Winberg explained that he would work with Laraine

          to review each of the items stored in the basement and tag

          those items which were to be saved.      There was no way

          Laraine would do this without Winberg being present.

    10.        Consistent with Mr. Winberg’s representation,          I

          obtained the GreenSky financing on March 15,         2018 and the

      money was deposited in the account set up for this project,

          and withdrawn by defendants on March 5 and 9,         2018 all

         without my having to sign defendants’       Proposal.

    11.        The first time I saw the February 16,       2018 Proposal

         with my name added to Laraine’s name was on March 15,             2018

          (Exhibit B)   after the defendants withdrew not only the full

         amount of the total proposal price of $21,000.00 but an

         additional $4,000 which defendants added to its unsigned

          Proposal, taking a total of $25,000.00 instead of the

         stated $21,000.00 total price.

    12.        On March 4,   2018 my sister and I received an email

         from defendant Winberg which purported to justify the

         additional $4,000.00 as being a financing charge that

         Premier was being invoiced to pay as a “one time fee to buy

         down on the interest rate only”.

   13.        The focus my cause of action against defendants as a

         co—plaintiff in this matter is defendants’ unconscionable
Case 3:20-cv-16458-ZNQ-TJB         Document 23-2   Filed 10/19/21   Page 4 of 38 PageID:
                                           611


          business practice in passing on to me the charge that

          GreenSky puts on Premier for the use of its services.

    14.         GreenSky’s financing agreement specifies that the

          contractor   (Premier)     is prohibited from passing on to me as

          the borrower, GreenSky’s finance charge to Premier               (Exhibit

          C,   Paragraph 5   (b)   (highlighted).

    15.         1 have never authorized Premier to type my name into

          its Proposal after securing the GreenSky financing for my

          sister.   As stated in my Answers to Interrogatories, No.               5,

          GreenSky did not require my name to be added to the

      proposal for Premier Waterproofing              (Exhibit D).

    16.         Consistent with defendants’         responses to written

          discovery,   I have never received any written or oral

          information from defendants regarding the terms of Proposal

      to improve,       including but not limited to the fine-print

      arbitration provision.

    17.         1 would never have agreed to become a part of any

          contract between defendants’        and my sister and certainly

      not if it included a binding compulsory arbitration clause,

      preventing me from exercising my constitutional right to

      pursue my claim in court, without artificial limits on my

          right of recovery.
Case 3:20-cv-16458-ZNQ-TJB   Document 23-2   Filed 10/19/21   Page 5 of 38 PageID:
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     I make this Certification knowing that I am subject to
    punishment if my statements are knowingly and materially
     false.




 Dated:           1 ) %oI             3
                                    Jnet Guarino
Case 3:20-cv-16458-ZNQ-TJB   Document 23-2   Filed 10/19/21   Page 6 of 38 PageID:
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                             EXHIBIT A
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Case 3:20-cv-16458-ZNQ-TJB                                   Document 23-2                           Filed 10/19/21                      Page 7 of 38 PageID:
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                                             FOR THE DISTRICT OF NEW JERSEY

     George T. Dougherty, Esquire                                                  (247791969)
     KATZ & DOUGHERTY, LLC
     4020 Quakerbr±dge Road
     Trenton, New Jersey 08619
     609-587-1199
     Attorneys for Plaintiffs,                                         Laraine Conte
     And Janet Guarino


  LARAINE CONTE AND JANET                                          :Civil Action No:                                    3:20-cv-16458-BRM-TJB
  GUARINO,                                                         2



                 Plaintiffs,

  Vs       .
                                                               2



  SAM SHEAR and MIKE
  WINBERG, individually                                        :         Returnable:                           January 4,                   2021
  and as Principals or
 Managers of def.
 PREMIER WAiERPROOi ING LLC                              .




 And JOHN DOE and ABC CO.



                                CERTIFICATION OF PLAINTIFF, JANET GUARINO
                              IN OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
                                      ARBITRATION or ALTERNATIVELY,
                                DISMISS COUNT II OF PLAINTIFFS’ COMPLAINT



               Janet Guarino,                of full age,                               certifies as follows:
 I    .    I am the plaintiff sister of homeowner Laraine
                                                          Conte and                                                                                               have

           full knowledge as to the following facts:

 2.            Durlnc the Winter of 2018.                                         tr:i          sister         and her husband,                            ‘iark

           Conte,            were In need o mold rsaediation as the resul
                                                                          t of

          ba:kuo of their ssniarv sswsr cpe.,                                                            causing a portion of

          thsir basement                    c re wet




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Case 3:20-cv-16458-ZNQ-TJB        Document 23-2 Filed 10/19/21 Page    8 of 38 PageID:
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      3. I observed the situation firs
                                       thand,           noticing that the water

        intrusion had been confined to
                                       a portion of the basement

        closest to the rear of the house,
                                                   leaving the opposite side of

        the basement and its contents,
                                               dry and unaffecting affected by

        the wetness in the rear section
                                        .

   4      After the insurance company paid
                                           for a company to provide

        water removal services and fan
                                       drying equipment,            my sister
        solicited proposals for mold remo
                                          val services.

  5.      I was present on February 17,
                                                2018,    Mike Winberg came to the

       Contes’   home as a representative of Prem
                                                  ier Waterproofing,            LLC
       to assess the situation and to
                                      make a proposal for mold

       remediation services.

  6         I have reviewed the certificatio
                                             n made by Laraine Conte

       regarding Mr.   Winbery’s actions,        including his spending some

       time alone in the basement,        after which he came upstairs to

       the kitchen table where he gave
                                       his findinqs that there was a

       hiqh amount of mold in the basemen
                                          t,         and that he could tell by
       sight,   without the need for laboratory
                                                tests,          that the mold in
       the basement was a threat to my
                                       brother-in-law’s health.
 7.       P:e was able to observe that Mark
                                            Conte was in ill health
      witi resciratory issues,        end it became clear to me and to

      Laraine that he was bent on exp
                                      loiting that issue,            oshing
      heavily for Laraine to select
                                    Premier fOr :he mold removal

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  8.    Although the water cleanup firm removed the wet matter from

       the wet portion of the basement, leaving such things as the

       wash machine and refrigerator in place (noting that they were

       able to be cleaned and retained) Winberg insisted to Laraine

       that they should be removed, without explaining his reasoning.

 9.     He made the same remarks about many other items that Laraine

       questioned, including things which were dry and located in the

       dry portion of the basement.

 10.     Because Laraine had asked Winberg about a number of items,

       he promised that before any removal took place, he would sit

       with her in the basement and “tag” each item that was, with

       her approval, to be saved and each item to be disposed of.

 11.      Most likely to amplify his concern about the potent mold

       threat (because they simply ignored the tagging promise when

       the work started on February 28) Winberg made a major point of

       Laraine needing to wear hazmat protective gear including

       boots, gloves mask and overalls during the selection process.

 12.     I am personally familiar with the stored contents of the

       Conte basement, including Mark’s collection of phonograph

       records, musical instruments, artwork and other objects which

      were clearly intended to be saved.

 13.     After the Premier proposal was emailed, because my sister

      and her husband lacked the financing to pay the $21,030 price,




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Case 3:20-cv-16458-ZNQ-TJB              Document 23-2 Filed 10/19/21 Page  10 of 38 PageID:
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                and could not qualify for fina
                                               ncing,             I agreed to be

                responsible for financing the
                                              project through GreenSky.
      14    .      I was never a party to the uns
                                                  igned Premier mold removal

            proposal and therefore not sub
                                           ject to its arbitration clause

            or its liability limitations.

      15.          My suit against Premier is bas
                                                  ed on its unlawful

            imposition of its GreenSky Me
                                          rchant’s Fee of $4,000 to its

            invoice for services as set
                                        forth in the Complaint,                     Para.s 54.
            -
                 59.

      16.  If there is an Order compell
                                        ing Arbitration of Laraine
        Conte’s Complaint against the
                                       Premier Defendants, my action
        against the Premier defendants
                                         should not be included in that
        arbitration and should he adju
                                       dicated before this Court or
        remanded to the New Jersey
                                   State Superior Court.




  I   make this Certification kno
                                  wing that I am subject to
  punishment if my statements
                              are knowinqly and materially fals
                                                                e.




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                                             Janet Guarino
Case 3:20-cv-16458-ZNQ-TJB   Document 23-2   Filed 10/19/21   Page 11 of 38 PageID:
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                             EXHIBIT B
Case 3:20-cv-16458-ZNQ-TJB              Document 23-2          Filed 10/19/21   Page 12 of 38 PageID:
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   From: <wnbergmikeaoLcorn>
   Subject: Premier Waterproofing
   Date: March 15. 2018 at 12:35:12 PM EDT
   To: iaraneconteyahoo.com <Laraineconteyahoo corn>
   Cc: guarinol I 8(corncast. net <guarinol I 8@corncastnet>

   Laraine & Jane,

   Please find attached, a receipt of your contract, paid in full through GreenSky
   Financial. Thank you for your business.




   Kind regards,
   MikeW,Jim R&SamS
   Premier Waterproofing,LLC
   21 5-295-741 7 Office
   609-964-8008 Mike’s Celt
   wwwpremierwaterproofing .com




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                             EXHIBIT C
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             Case e3:20-cv-16458-ZNQ-TJB Document 23-2                                   Filed 10/19/21PagePage
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                                                  623                                                                        GreenSky’ Program Loan Accoun
                                                                                                                         Statement for period ending 03/19/20  i
             4
                                                                                   \2’                                                                        18
                                                                                                                                Account Number: XXXX XXxX 6555 090%
                                    Thank you for financing your purchase with
                                                                                                  Premiervvaterproofig LLC
    Payment Information____________________
    New Balance
                                                                                         Summary of Account Activity
                                                                      $25 101 29         Beginning Balance
   Minimum Payment Due                                                                                                                                               $0.00
                                                               $101.29                   Payments
   Payment Due Date                     04114’2018 (before 6:00 pm ET)                                                                                               $000
                                                                                         Other CredtsT
   Purchase window expiration: 06/22/2018                                                                                            ,



                                                                                                                                                                     $0.00
                                                                                        Purchases
   To view eocountinformaton please log on greensky                                                                                                             $25,000.00
                                          to          anline.com.                       Fees Charged
                                                                                                                                                                    $0.00
   Late Payment Warning: If we do not receive your                                      Interest Charged
                                                    mirtmum payment by                                                                                     fl
                                                                                                                                                                $101.29
   the Payment Due Date listed above. you may have                                      New Baance
                                                    to pay a late fee of                                                                                     $25101.29
  up to the amount authorized by your loan agreemen
                                                    t. If your aocount is
  in dspute, your New Sa:ance may rei:ect a temp
                                                 orary credit.
                                                                                        Credit Lim:t    ,   ..




  Do you have questions about your accoun
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                                                                                                                                                             530,000.00
                                                        t?                             Available Credit,
  ‘Pie are available to assist every Mon
                                                                                                                                                              55,000.00
                                   day-Seurday from S AM-I AM                          Statement Closing Date
  and on Sunday from 8 AM-I AM Eastern Tim                                                                                                    ,
                                                                                                                                                             03/19/2018
                                          e                                            Days n Billing Cycle
  Toll-Free Customer Service                                                                                                                                           25
                                                                                                                     .




                                855-809-1889                                           Annual Percentage Rate’
  Your Support Team             service©greenskycredit.com                                                                                                         2.99°.
                                                                                       The Seniicemembers Civi ReliefAct (SCRA) prov
                                                                                                                                       ’des important
                                                                                       rnancial anc legal protecto’ to serv cememoe
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                                                                                       at tivw.m;ltaoreeource F. (search f ‘SCR
                                                                                                                                    A)
             On your Promotion Expiration Date, 07122/
                                                        2018, a new monthly payment
                  will be calculated for the remaining 139
                                                           months of your_loan.
     When you use your GreenSkfl Installm
                                                 ent Loan, you have zero liability for tran
                Log on to greenskyonline.com today to man                                   sactions that you do not authorize
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                                                                 age  your account it’s fast, secure and easy:   -

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TRANSACTIONS
Reference Number   Transaction Date           Post Date        Description
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                         TOTAL FEES FOR THiS STATEMENT                                      -——
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INTEREST CHARGED                                                                                                                                                    oo


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 Case                       Document 23-2 Filed 10/19/21 Page 17 of 38 PageID:
                                     624                                  Pmgrmn Agreement ; 53
                                               (;reensk,’® Merchant
                                                                    Pro           gram kgreement
     This Agreement sets forth the terms between
                                                  Merchant and Program Administrator relat
     worth not otherwise defined herein have the                                           ing
                                                 meanings set forth in Secdonj2 of this Agre to the OreenSk9 Program. Capitalized
     Program, Merchant accepts the terms ofthis                                              ement By participating in the Gree
                                                Agreement as follows:                                                           nSk9
     I  .   GreenSkf Program.
    Program Administrator is the administrator
                                                  ofthe OreenSky Program and, among othe
    rninisteHal services to Funding Participants.                                             r
                                                   Merchant agrees to participate in the Oree things. provides adnñnisfltive, technical and
   this Agreement including the Operating Instr                                               nSk9 Program in accordance with
                                                    uctions, to alloi Merchant’s customers                                      the terms of
   purchases of eligible Offerings offered by                                                to
                                                  Merchant, which Loans are fonded by Fund obtain Loans from a Funding Participant for
   Pmgmm Administrator is committed to meet                                                     ing Participants. Merchant understan
                                                  ing or exceeding all regulatory requirements                                       ds that
   and that Merchant plays an integral role in                                                  that an applicable to the GreenSky
                                                  helping Program Adminisntor ensure                                               Program
   Administrator enters into this Agreement unde                                           compliance with all such requirements.
                                                      r delegated authority in its role as Prog                                    Prog
   participating in the GreenSky Program.                                                       ram Administrator for Funding Parti ram
                                                                                                                                     cipants
   2.        OveMn oldie Merchant’s Obligations
                                                          and ResponsibilitIes under the GreenSk
                                                                                                      Program.
   (a)      All of Merchants obligations and respo
   Operating                                         nsibilities under the GreenSky Program
                    Instructions,     which       an                                              are detailed in this Agreement and the
   https: www.greenskycredit.com merchantagre               available       on     Program          Mminktrator’s
                                                 ement. These obligations and responsibilitie                             website        at
                                                                                              s includc
           (i)       ensuring all employees or agents involved
  offering the GreenSkt Program to Merc                          with the GrecnSkyt Program are advised
                                              hant                                                          of the requircments related to
  responsibilitieb hne completed the orientatio ’s customers and that Merchant’s employees or agents having nles and finan
                                                n and training related to the GreenSky                                                  ce
  provided b> Program Administrator,                                                    Program adopted by Funding Participants
                                                                                                                                      and
            (iii     promoting the GreenSky5 Program in a legal
                                                                    ly.complianc accurate, complete, unbiased
                                                                                                                  and fair manner;
            (iii;    ensuring that Loan proceeds are used only
                                                                 in connection with eligihle Oftbñnga
           (iv)     taking conunerciall) reasonabl
  including an of its employees, agents or subc e measures to present fraudulent activity by an applicant. Borrower or Merchant
                                               ontractors) with respect to a Loan or Loan proc
 of each individual applying for a GreenSky’                                                   eeds, including veñfyingthe identification
                                              Program credit product or ucing an Access
 the time ofa sale ofOffeting3 and enaiñng thai                                           Deuce, Account Number or Loan proceeds at
                                                there is no discropanc> between the documen
 to verify the identity of such indiv
                                      idual under çççjon 7(d)@3) and such                    ts Merchant relies on to fulfill its obligation
 information;                                                                   individual’s physical appearance or other appl
                                                                                                                                     ication
           0)        cooperating with Program AJministrator
                                                               in investigating and riediadng eScalO)n4.
  M:rchant and responding within Cisc Bus                                                                     cumpliints an•i diaçnws about
                                            ine
 tdit or revicis related to kfurchant’s panicipit Da>s. or such shorter time as rcq.ifrcd by this tgreemcn:. tn aiy request tbr information.
                                                 ion in the GreenSkyt Pwgrani;
           (vi)     !ttniun Machanfl diccussian w!th each
 pm;. idrnz auch Rorrusser or prospe.tie Borr                   Borrower and prospective Borrower rcgudin
                                                ower with approved materials or                                    the GreenSk Program to
 1.Jm:,eI t) COfltdCi Progrdm                                                      expr essl>  auth ori,d infom ’atio n. su:h as the telephon.t
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 \tlzni$n’.3r’s addrss and ceftam applicabl g ou behalf of Fundina Pdrthip3nt4. r2gard’nJ the Gr:nSkyR Prontm, Progiaw
 Spanish oily. provided that if Merchant        e cxks or cnhr identific tLbn n•imbcr. and
                                            conducts suh discussions in Spanish, Merc contheting such di%cs.!ona iP English or
prosp)se BorrohAer to reqittst a Spsish.                                                      hant wilt requc3t or dcrect each Borrower or
                                               laa;aqe copy of the loan døcumenb.
(1Ifl4pJCfrc Buransa n isbs
                               to ise ansUtk’r during dwi,o                                and  pmsided further tint i’ iuch Bivroer or
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                                     t nid ducuinerr th ijcnthka’ion o?eath                                 .     t’ai ;r:s. t tin nn;at’.r
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 Case3:20-cv-16458-ZNQ-TJB
Case                       Document 23-2 Filed 10/19/21 Page 18 of 38 PageID:
                                    625                                 Pmam Aement                                                                         .
                                                                                                                                               V. S 3
                  (ix)    responding within five Business Days, or such
q
                  Adminisuawr, mid fully cooperating with Program            shor ter time as requ ired by this Agreemen
       Bowower or prospective Bonoweç                                Administrator in connection with the resolution t, to any inq4ry from
                                                                                                                        ofany dispute involving a
                 (x)
                          with respect to any documents or
      which constitute a disclosure required by Program forms provided to, or to be executed by, a Borrower or prospective Borrower or
                                                           Mminisntor or under applicable law in conn
                                                                                                            ectio
                                                        to Merchant, or approved in writing by, Program n with the Oreensky® Program,
      only using such documents and forms provided
      latest version thereoO and not modifying any such                                                       Adminitator (and only using the
                                                          documents or forms without Program Administ
                                                                                                            rator’s prior written consent and
                (xi)     ifoffrdng a secured solar loan plan to a prospecti
      not for any other Offering or purpose.                                ve Borrower, only offering such plan to finan
                                                                                                                            ce a solar system and

      (b)         In addition to Merchant’s other obligations and
                                                                                                   responsibilities. Merchant shall not
              (ii      prepare or disseminate any written materials rega
                                                                         rding the Greensk9 Program other than those prov
     in writing by Program Adminisntor acting on                                                                          ided or approved
                                                   behalfqfFunding Participants;
                 (ii)        discuss with a prospective Borrower the likel
                                                                                                             ihood ofhis or her approval for a Loan;
               (iii)     provide any misleading, confusing or incomple
     interest rates or any terms or conditions ofa Loan                te information regarding the GreenSky’ Program,
                                                        under the OreenSk9 Program;                                    including applicable

                 (iv)        obtain any credit reports on prospective Boao
                                                                                                             wera or Bonoers;
                 (v)         pursuant to Section 5(b. add any fees to price
                                                                                                             s charged to Borrowers for the application for or
                                                                                                                                                                 use ofa Loan;
             (si)            discriminate among prospeothe Borrowers or
                                                                                                             Borrowers in any unlnM way;
            (‘ ii)    ask for or accept any document from a Borrower
    which Merchant is working behalf of buch Borr                    that includes a statement that the home improem
                                          .
                                                     ower ha been completed to such Borrower’s satis                    ent pruject on
    tompletloit thereof; or                                                                            faction in advance of the actual

             (vüi)    engage any subcontractor to work on a hom
    properl> licensed                                           e improvement project funded in whole or in pan
                                                                                                                b) a Loan that is not

(C)      En the event that Program Administrator or a Fund
Program Administrator may su’pend Merchant                 ing Panzcipint bcliees Merchant ha failed tu com
                                                ’s participation in the GreenSky’ Program and               ply with th;s Agreement,
appropriate, including terminating this Agreemen                                                take such other action as it deems
                                                 t.
3           Ovenln of Program AdmInistrator’s Obli
                                                   gado                                              n and Responsibilities under the GreenSk)
                                                                                                              ’ Program.
Program Administrator, acting on bchalfofFundi
                                                 ng Participants, will administer the GreenSky Prog
oiler Mcrchant’c qualified customers open-end
                                              ed (reiolsing) or closedended (installment) Loan
                                                                                                         ram. A Funding Panicipana may
ofeligible Offerings offered by Merchant FuM                                                     s for the purpose offinancing purchases
                                               ing Participants will direct the terms and conditton
Bonosver(s)                                                                                         s under which Loans are extended to

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                                        626                                     Progra                                                 m Aeemait v. 5.3
           relating to thc GreenSky Program, including the
    ,
                                                                    fact that Merchant participates in the GreenSky
          terms or credit products Merchant accepts, shall                                                           ’ Program or specific Loan credk
                                                                be prep
          be subject to review and approval by Program Adm ared or furnished by Program Administrator or, ifprepared by Merchant, shall
                                                                     inistrator in advance ofbeing used by Merchant
          shall belimlied to the review and approval ofGr                                                               Any sucb review and approval
                                                                eenSk9 Programspecific representations and state
          a review or approval of any advertising or solic                                                         ments and shall not be conaec as
                                                               itation materials for any other purpose or for com
          any local, state or federal laisi not related to the                                                    pliance with any other provisions of
                                                               OreenSky Progrsa
          (la)     Merchant shall not require through a surcharge
          consequence ofliowower applying for or using his           , an increase in juice or otherwise, sny Borrower
                                                             or her La to pay Merchant Specifically, Merc                  to pay any fees as a
         any pad ofany charge or fee imposed by the Gree                                                      hant may notcharge the Borrower
                                                            nSk9
         to be distributed across all customers mgsrdless ofwh Program on Merchant provided that Merehant may flat such fees as overhead
                                                               ether the customer uses a Loan to pay for his or herp
                                                                                                                     urchase from Merchant
         (c)      During the term of this Agreement, Merchant shall
         psrty financing programs.                                     not issue, or snsnge to issue, to prospective Borr
                                                                                                                          owers any other third-

         (d)     Merchant shall not use a Loan as a tridge” loan or
         Loan under the GreenSk9 Program.                           intend for the Borrower to use the proceeds of anot
                                                                                                                        her loan to pay off a

         6.         Loan Terms and ApprovaL

     (a)       Through the GrcenSk9 Program, a Funding Participan
     Loan Agreement between Funding Participant and                   t may offer Loan(s) to Merchant’s qualified customers
                                                          such qualified customer As between the panics, Prog                  under a separate
     direction and under the control of Funding Parti                                                              ram   Adm   inistrator, at the
                                                        cipants, (1) has sole authority to prescribe the term
     application, the Loan Agreement and each Loan                                                            s sad conditions of the credit
                                                       (incl
     such terms and conditions ith respect to Loans for uding interest rate, maximum amount and term), (ii) may prospectively modi&
     any time change the credit standards without notic which approval is granted subsequent to the time of the modification, (üi) may at
                                                       e to Merchant and (iv may reject and accept credit appl
     A Funding Participant shall not be obligated to                                                            ications in its sole discretion.
                                                      take any action with respect to a Loan, including
    making future credit available to a prospective Borr                                                 accepting the credit application or
                                                           ower or a Borrower, and has no obligation to appr
    approve Loans meeting any particular st ofrequirem                                                         ow any pankuLar Loan or to
                                                            enu. A Funding Participant may withdraw any preb
    prior to Pinding of the Loan, which Loan approval                                                           iously in.td loan approval
                                                         s, un!es4 earlier %ithdmwii, shall automatkall> iapir
    window for the applicable credit produ t Funding                                                            c at thD end of the purchase
                                                         Participants may at any time suspend, andscstan any
    in connection with the GreenSky Program.                                                                    ofthc I oan products offered

    Cb)     Except as provided herein. Funding Participants shall
    acknowledges and agrees thst ft shall have no own               own the Loans and shall bea’ the credit risk for the Loan
                                                      ership interest in the Loans.                                          s. Macham

    7.     ApplIcations.

    (a)       Merchant agrees to submit all credit apphcationb
                                                                 in accordance with this Agreement and the Oper
    will use only a credit application form provided
                                                     or approved by Funding Participants for usc in the
                                                                                                                ating Instructions Merchant
    any other third-party financing provider’s credit appl                                              GreenSk7 Program and will not use
                                                           ication ir conn     ection with the Oreensk9 prjgra.
 tb       MerchanL agreei to provide its sales and finan
 GreenSky Program in accordance with this Agreemen ce employees with the necessary equipment to submit credit applications to the
                                                        t and the Operating Instructions.
  ‘)      In addition, Merhart ma> with a praspecth e Bom
                                           .
the GreenSky Progrim jy wch means as are set                   ,wer’s prior written consent, (1) submit a complete
                                                   forth in the Operating buraaions and (ii) receive               d credit apphca’ion to
to the prospective Borrower.                                                                           and forward the Loan Documents

.   th        %lerchant sha with rcspcc; to each credit spp’;cati
                                                                   ’ ri or applis.atioe tnfbrmation form.
               :
              I i         ertre ‘: ,rormao r’q..eted or v:ch crt appt
                                                                                    Lroti !‘                             3i1i lcgih!t:
              ‘!:         .*tr a. s:3nwre(si Or c..ign1zr:s’.
                                                                  as   Ypf.:dbe. .‘.                             .

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         Case e3:20-cv-16458-ZNQ-TJB                  Document 23-2 Filed 10/19/21 Page 20 of 38 PageID:
                                                                    627                                                       Program Agreement v
                                                                                                                                                  5 3
           (e)     In the event Merchant identifies a discrepancy
           i@Jui_u                                                between the documents Merchant relies on
                                                                                                           to fttlfihI its obligation
                   and         the prospective Borrower’s physical appearance                                                                       under Section
                 application to the GreenSkya Program from                            or other application information, Merchant shall
                                                               any such applicant and shaH promptly inform                                    not submit a credit
S
                                                                                                                   Pogram Administrator.
                          In the event that Progam Adminisuator prov
                                                                           ides Merchant with an Internet addres.s to proc
                 address on a commercial site on the World Wide                                                              ess credit appltcations, it Il be an
                                                                     Web portion ofthe Internet accessible by Merch
                 Adrmnistrator shall own. manage and maintain                                                             ant. As between the panics. Progra
                                                                   such Internet site and retains all right, title and                                           m
                Merchant’s only right to such Internet site is to                                                       interest in and to such Internet site,
                                                                   use it in connection with its participation in                                              and
                                                                                                                   the GrccnSk? Program.
                (g)       Merchant acknowledges and agrees that “restricte
                                                                                d transactions,’ as defined in the Unlawful Interne
                 ct o2UO6 ano Rejvlaior CU issued                                                                                      t Gambling Enforcement
                                                                        and ali other Wmsactions n the nwure ot gambl
               prohibited from being processed through the GreenSkyn                                                        ing ( R&rt4 Trasact, a
               processing through the GreenSky Progmm. In
                                                                              Program. Merchant agrees that it will not submit                               ) e
                                                                                                                                     Restricted Transactions for
                                                                  the event Program Administrator identifies a
               Administrator may, on behalf of Funding Partici                                                      suspected Restricted Transaction, Proura
                                                                     pants, block or otherwise prevent or prohib                                                m
               rcmedes available under this Agreement or otherw                                                        it such transaction and seek any other
                                                                      ise.
               8.       Eligible Sales Transactions.

           Once a Loan is approved by a Funding Participant:

           (a)       Borrower trust present a valid Access Device
                                                                      or Account Number at the time ofsale using
           tslercnant agrees to honor all valid Access De’tice                                                     proceeds from Borrower’s Loan.
                                                               s and Account Numbers whcn properly prese
           Merchant must verify the identification of each individ                                           nted as payment tor eiigible Offerings.
                                                                    ual presenting a valid Access i)evice or Accou
           ohtaintng a government-issued photo identification                                                       nt Number at the time of sale by
                                                                   document. In the event Merchant identifies.
           discrepancy bctween the Borrower’s identiflcation                                                       or reasonably should identify, a
                                                                   documents used to fuiflll Merchant’s obliga
           Borrosser’s physical appearance or Access Device                                                       tions under this subsection and
                                                                 or Account Number. Merchant shall not submit
           Program horn any such Borrower and shah promp                                                            a transaction to the GreenSkyr
                                                              tly tr,form Program Administrator.
           (hi       Merchant must obtain a tmansmiction authodratton
                                                                         through the applicable payment card network or
           authodia:ion centcr. as and to the cvtcm direc:ed                                                                  the GrcenSk5’ Programs
                                                                 bs Program Adminis’rator, prot ided, howev
             -115 L ‘ro thn o,zh tit_ Or i Sk
                                                                                 ..

                                                                                                                 er, in order to be cltgihle to process
                                                   Pru,ramr cc a 7at on c r r Ihn i
           comply with the applicable policies and. procedures                                       s uisrt tr.. rt’ 19 QI a il La , ns U tito
                                                                 related thereto, as established from time to time                                      md
           policins and procedures ‘a ith respect to Merchant                                                        by Program Administrator (which
                                                               may, in the discretion of Program Administrator,
          ov,ed between Merchant and Program Adm                                                                     include net settlement of amounts
                                                           innwtor or Funding Panicipantsj. Program
          Participants in its sole dtscretion, rra grant.                                                      AdministTator, on behalf of Funding
                                                           deny or revoke any transaction authorization and
          \hrchant in respect of any Borrow em. Unless the                                                      may restrict or condttioo payment to
                                                              Operating instruetons pro\ ide uthera ise, transac
          time peno.i established by the applieab’e payme                                                          tion authoozadons are val id for the
                                                             nt card netssor Qou: not more tnan eve days
          Prar th n             0 aftr , Lh tim mcs b d                                                       .   Any   transaction that is presented to
                              5rri
                                                                 nd I
                                                                 .           inmaio u honvar on i an ad Merhit 5ha L
         Request to Program Adtninistra:ur throagh the app                                                  ,
                                                                                                                                    ubnu      I ra imC on
                                                                icable pa>ntent card network or dtrectly to the GreenS                         c


         center, and the I oan ss ill be funded
                                                 by a Funding Panicipanr. Neither Program Admin                            ky   Prog ram’ s auth orization
         responsible. howeser, for any delay in funding                                               istrator nor such Funding Paiticipan. shall he
                                                           a Loan caused by a merchant proeemsor or otherw
         denied. Mercoant shaw not compte;c me transac                                                           ise. Ifa transaction authorization is
                                                            tton mor which aathorizanon was sought and
         aumor:zation center as requested.                                                                   will conute the GreenSKy Program’s

         ic)         Alt transacuons shalt oe evtdeneed by a I ransae
                                                                        t:on Reque
                                                                     st. Merchant shail compLete the Transaction Requ
     wfth thi \greement Merchant shall nat                                                                            est tn accordance
                                           process a transaction where the amoun: o’ the
     es:ahhshe.d by the GreenSky Program and any                                         Transaction Reque: exceeds :h: accoun: nut
                                                 other cash or other pamment am’eed to by the
                                                                                              Borrower.
    td)              \1:rchant acrees no: to inside a single transaction
    Br,rros’ers om berveen a Transacrion Reque                               \  project) hurL ceo ceo or more Transaction Roque
                                              st and a &es                                                                      sts (for one or more
                                                                         or cred:t slip from another credit provider:
    man dtvide a stngle ransmjct’on between a Transa                                                        provided. ho’ever. dna: Merchant
                                                    ct: n Reqaest and a sales or credit slip from anothe
    luan  mona: i insufficen: to p’ Borron ems :r,t&                                                      r ercdtt : rovitier .vhen’ an appe ed
                                                       n’anca,t:f,r a;:oun curl Przram.
     yb rota. transaction ar-scant
    ‘%
                                                                                          ,Adrrdnt uratar has beer movaleu written notice
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                                                    10/19/21          55ofPag
                                                                37 of21    38elD : 419
                                                                              PageID:
                                        628                                   Prorarti Agreement v.53
      ofihe transaction (and, by submitting the transactio
      Device;                                              n, Merchantwnnts the Borrower’s true identity
                                                                                                         as an auth                orized user ofthe Access

               (iii)     create and retain accurate records relating to such
     detail sufficient to identify the date of such trans                     transaction that include a description
                                                          action and the entire amount due for such nnsacdon ofall Offerings purchased in
     (the “inyoice’;                                                                                              . including any applicable taxes

              (iv)     deliver a true and completed copy of
     delivery of(or performance with respect to) the Offe the Invoice to the Borrower at the earlier of processing such nnsaction or the
                                                         rings;
              (v)        obtain the signature of the Borrower on the
    transaction and compare the signature with the                       Invoice or other evidence of the Borrower’s
                                                        signature panel of the Access Device or the Borr                    authorization of such
    identification document(or as otherwise permitted                                                          owerts government-issued photo
                                                         in the Operating Inafructions) and, ifthe identifica
    otheii ise questions the validity ofthe Access Devi                                                       tion is uncertain or if the Merchant
                                                         ce. contact the Greensk9 Program authoriza
                                                                                                         tion center for instructions;
             (ii)       enter such transacLion into Merchant’s pointof-sale
                                                                              terminal or other applicable device: and
             (tii)      present the Transaction Request to Program Adm
   approval, provided that ifsuch transaction is canc                       inistrator for authorintion only upon Borrower’s
                                                        eled or if the Offerings are canceled or returned,                        express written
   subject to chargeback or refund, and Merchant                                                             such Transaction Request shall be
                                                       agrees that the submission of such transaction for
   representation by Merchant that there is a valid Invo                                                        authorization shall consthute a
                                                          ice for such transaction that complies with the term
                                                                                                                 s ofthis Agreement
   (0        All  transactions financed pursuant to this Agreemen
                                                                     t shall be for personal, family or household purposes
   authorized in writing b Program Administrator.                                                                               unless otherwise

   (g)      Ofkrings purchased by a Borrower that are being ship
   unless shipment or delivery to another location is            ped or delivered must be shipped or delnered to a Borr
                                                      authorized by such Borrower in writing and appr                   ower’s residence
   Funding Participant. as communicated by Prograr                                                     oscd in writing by the Relevan’
                                                      Administrator
   (h)       Subject to applicable law, Merchant ma process thpo
   anti (2) the &rroer’ credit limit for such Loan or                  sits for (A) up to th ksser of2OG of (I) the aggrcgatc
                                                         (B) such greater amounL as the Relevant Funding Pafti                  projed amount
   Program Administrator, may approse in writing Merc                                                            cipaat, as communicated by
                                                             hant may not otherwise procss deposits through the Gree
                                                                                                                         nSky Program.
  It)        Merchant agrees tha it will not offer extended prod
                                                                   uct or service warrantia and scnice agreements unde
  an Afflliat of Merchant or any third pan> in conj                                                                     rwñaen by Merchant,
                                                       unction kh purchases made by Borrowers without
  Relevant Funding Panicipan; as communicated by Prog                                                       the prior iriUen approval of the
                                                             ram Administrator, ofany such wa’ranty or service agre
  that all such extended warrantic and service agreemen                                                              ement Merchant agrees
                                                            ts a ill comply with applicable la . Merchant apeea that
  obligations under any such cxtendd wity or sen                                                                       it will comply with all
                                                          ice agreement, whether underwritten by Merchant an Affil
                                                                                                                      iate or a third party.
  .         Fees.

   Fur each funded I ott. in additon to any fce impuid
                                                                by the applicable payment card netork (or proce;!ng
   ma> include a fee imp.sed b Program Admi&strator for                                                                     the tnn,actiun (“ hich
   networkj. Merchant wall pa Program Administ                      transaudoris protesscd dwecUy through Program .kdm
                                                        rator a contractor or nansaction fe                                    i&a:rauWs payment
  GreenSkj’ Program, i&ud:ng aceei to th3 Gree                                                                        i rcum for access to the
                                                          nSky’ Program tchnology platform to ahon M:rg
  ‘Yair F iidirtg Panapants TN tnitht a:bdi: of trana                                                         ha.t’s customen u’ obtain I oan
                                                                cuon Fc3 sppflcable to Merhan. is attached a;
  and i:wmporated Lwein b;. rcfcrenc The lranacüon                                                               $4ij4
                                                               Fee 6 due arid pivable Lu Program Adninsnwr .zponiJçA tv thi’ 4grcCflt!Jit
  Merchisn shall a1so pay l’wgran Mnuniiraor a eec                                                                         the Pandng ofa I oars
                                                             each month to participate in the GreenSk>’ Program
 A(uale55 the aggitgate %,hlte o’ I nan ?urdii for Borr                                                            in aconianee with Schedule
                                                                  ow:r
  éIbi lit ci c.e’g that \lcrthrr Joe2 not pa di: lransa.aio I , in i panicutar month a’ktIe the ni’iimam l:tel spearied in ch#&i
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 Case 3:20-cv-16458-ZNQ”TJB Document 19 Filed 09/07/21 Page 38 of 55 PagelD: 420
Case 3:20-cv-16458-ZNQ-TJB  Document 23-2 Filed 10/19/21 Page 22 of 38 PageID:
                                     629                                  Program
      10.       Customer Payments.                                                                                                              Agreement v. 5 3


       Merchant agrees that Program Administ
                                                  rator, on behairof and at the direc
      sole right to receive payments on Loans. Merc                                    tion and under the control of Funding
                                                          hant agrees not to attempt to colle                                    Participants, has the
      the Relevant Funding Participant, as                                                    ct a Loan unless specifically authorize
                                                communicated by Program Administ                                                       d in writing by
      Funding Participant any payment recei                                             rator. Merchant agres to hold in trust
                                                ved by Merchant in respect ofsuch                                                    for the Relevant
     acting on behalf of the Relevant Fund                                           Loan and to deliver such payment to
                                               ing Participant, together with the                                           Program Administrator.
     accompanying the payment, within five                                         Borrower’s name, Account Number,
                                                 days ofreceipt by Merchant. Merc                                          and   any correspondence
     in favor ofthe Relevant Funding Parti                                           hant agrees that Merchant shall be deem
                                             cipant to which any such payment                                                   ed to have endorsed.
     in.stnunent made payable to Merchant                                         relates, any Borrower payments by chec
                                                that a Borrower presents to Program Adn                                     k, money order or other
    Administrator, on bchalfofthe Relevant                                                   rinisLrator, and Merchant here
                                                  Funding Participant, to supply such                                       by authorizes Program
    agrees that it shall not, directly or indir                                         necessary endorsements on behalfofM
                                                ectly. make any payment on a Loan                                                erchant. Merchant
    of Program Administrator, acting on                                               on bchalfofa Borrower without the prior
                                             behalf of Funding Participants, and                                                    written approval
    right to immediately (a) suspend Merc                                           Program Administrator, in its sole discr
                                                 hant’s right to submit nev. fund                                              etion, shall have the
    applications or (b) terminate this Agre                                         ing transactions on approved Loans
                                             ement in the event that Merchant fails                                          or submit new credit
                                                                                       to comply with this provision
    Il        Representations and Warranties.

     (a)       £45 tO each credit application,
                                               Transaction Request or other material
     Program, and the transaction it evidence                                                presented or delivered in connection with
                                                s, Merchant rcpresents and warrants                                                          the GreenSky’
     the customer and that the customer was                                                the following: (i) that Merchant has verif
                                                 of legal age and competent to exec                                                     ied tile identity of
    authorization at the time ofthc execution                                            ute the credft application, Loan Agreemen
                                                  thereof; (ii) that the credit application,                                              t and transaction
    and were actually made and agreed                                                          Loan Agreement and Transaction Requ
                                             to by each person identified as an                                                            est are bona fide
    Transaction Request (A) :ill arise out                                             applicant or Borrower; (iii) that each
                                               ofa bona fide sale ofOfferings by                                                   Loan Agreement and
    involve the use ofthe Loan mr any purp                                              Merchant and t’ne express consent ofBo
                                                ose other than for the purchase ofthe                                                nowcr, (B) will not
    Transaction Request, which are truly                                                    Offerings that are the subjectofthe Loan
                                             and accurately described therein, are                                                          Agreement and
    delivered into the possession ofthe Borr                                             fit and me rchantable for their
                                               ower and any services so described                                          intended purpose. have been
   has been completed in a proper arid                                                  have been performed, and that all insta
                                             workmanlike manner to the Borrower                                                    llation (if applicable)
   satisfacton, performance ofall of its othe                                              ’s complete satisfaction, and (C repre
                                                r obligations to the Fiurrots er in conn                                                sents Merchant’s
   Request: (iii) that Merchant has conveyed                                               ection with the transaction evidenced
                                                   ftdl and complete title to the Offerings                                         b   such Transaction
   in all respects. in compliance srth the                                                      , if any, to the Borrower; (is) that such
                                             Operarng Instructrons. this Agreemen                                                            transaction is,
  local govemmentni agency guvernmg the                                                 t, and all laws, mles ano regrlatrons or any
                                                 same, (v) that Merchant ha no know                                                        federal, state or
  that would impair enforceabilrty or colle                                                  ledge or notice 01 any fact, event, issuC or
                                               ction ofthe Loan as against Borrower                                                           circumstance
  security interesb upon the Transaction                                                   ; (vi) that there are no liens, mortgages, encu
                                               Request or the rights evidenced by the                                                          mbrances or
  flature unvested or unrecorded nghb relat                                                   Transactiun Request; (vii) that there are
                                                 ed to such transaction that could give                                                      no present or
 except to the extent tnose ngnts are rn                                                       rise to a meehanre’s, matenaiman’ or labo
                                             lasor or \lerehant, in v,hrch e\ent Merc                                                             rer s Iren,
 any Funding Parrrcipant, (vrrr) that Bon                                                   hant agree not to assert tnee ngnts to
                                             o’,ser has no elarm or defense to paym                                                     toe detriment of
 b4sed upon materials or worksnanh:p                                                     rent of any amount reheeted un such Tran
                                                or any act or onu.ron or Merchant                                                        saction Request
 represerrtati\e, (ii) that there ha\e                                                          ur Merchant s emproyees. contractors,
                                           been no repreentat
                                                            ron or warranties made to Borrower                                                  laoorers or
Relevant Funding Participant. as eom                                                                 other than starranties approted by the
                                      manieated by Program Administrator
tn the event a manafacoirer or third party                                  , or a thud party’s or manufacturer’s
                                           br-caches a standard warranty, Merc                                      standard warranties, and
(x that Merchant has not increased the                                         hant s’ iii vure such breach within 30 day5
                                         purchase price or added an.y additional fees a a result of Borrower               ofnotiee thereof;
 tile Offerings; and (xi) that Merchant                                                                      s use ofthe Loan to purchase
                                           has not taken any ad’erse action again
 propective Borrower or Borrower is a                                               s a prospecti’e Borrov. er or Bornvver beca
                                         member ofa protected class, as defin                                                      use t’ne
or BorrOwer has chosen to use cred                                             ed by applicable lay- or because the pros
                                      it to finance the purchase. nor has                                               pective Borrower
mperrntsshle negative or disparate impa                                    Merchant engaged in any practice that
                                            ct on members ofany protected class                                     has or could have an
to more expensive or less fa’.orahie finan                                      . ine!uding steering prospeenve Borrosers
                                            cing ondons because ofthe prospecti                                              or Borrowers
orass                                                                           ’.e Borrowers’ or Borrov,vr’ rnerthersh
                                                                                                                         ip in a protected
           3:20-cv-16458-ZNQTJB Document 19 Filed 09/07/21 Page 39 of 55 PagelD: 421
      Case3:20-cv-16458-ZNQ-TJB
     Case                       Document 23-2 Filed 10/19/21 Page 23 of 38 PageID:
                                         630                                  Progmm Agreement v.
                 (c)                                                                                                                                   5
                         If ?%Ierchant offers products or services
                 Merchant                                          to any consumer located lxi New Jerse
                          will comply with the New Jersey Consum                                              y, Merc hant represents and warrants that
                                                                   er Fraud Act (NLJS.A. 56: 8-1, et seq.)
                 Act(N.J.SA. 56:8-l36etseq), theNewJersey                                                   , the New Jersey Conbacto
                                                              ConfractorRegistration Regulations (NJ.                                   rs’ Registation
                Home Improvement Regulations (NJA.C.                                                      A.C. 13:45417.1 etseq.) and the
                                                          l3:45A-I 6. 1 ci seq.). In the event Program                                       NewJersey
                comply with this $gionIl(c, Program                                                     Adminisfrator learns that Merchant
                                                       Administrator will terminate this Agreemen                                           has failed to
                this Aweernent or otherwise,                                                         t and may seek any other remedies
                                                                                                                                        available under

             (d)     Merchant represents and warrants that it is in
                                                                      compliance with, and will continue to com
            regulations, including those relating to priva                                                       ply with, all appltcable laws. rules
                                                           cy and data security and to its sale ofOf                                                    and
            made by Merchant’s employees and repre                                                   fehngs, pointof-sale practices and repre
                                                          sentatives and that Merchant has retained                                            sentations
            approvals, ceftiflcadons and the like that are                                              and will retain all required licenses,
                                                           required under applicable law to conduct its                                           permits,
            the GreenSln/1 Program and to perform its                                                    business, to deliver Offerings, to parti
                                                         obligations under this Agreement, each ofwh                                             cipate in
            effect. Merchant represents and warrants                                                     ich remains and shall remain in Full
                                                        that it will comply with the Merchant Prog                                              force and
            hereto.                                                                                   ram  Agreement Compliance Addendum
                                                                                                                                                  attached

        (e)     Merchant represents and warrants that it
                                                         will not violate any agreement it has with
        Administrator promptly ofany event that may                                                     third parties and \\ll advise Prog
                                                    adversely’ affect its prospects or continue                                            ram
                                                                                               d operations.
        I 2.   Chargebacks and Refunds.

       ( a)      Without duplication olany amounts paid by
                                                            Merchant pursuant to Sggyipn22Jfpj, Merc
       arid Proaram Administrator, at the direction                                                    hant agrees that it will refund on demand,
                                                    and under the control of Funding Participan
       amoant ofany Loan affected, plus any finan                                                  ts, may charge back against Merchant, the
                                                   ce or other charges related to the Loan unde
       the foliowing eents’                                                                     r the Borrouer’s Loan Agreement, in each
                                                                                                                                               oF

                          (i                Program Adrrtnis:rator or the P.eIoant
                                                                                                                Fttnding Participant determines that (A) Merc
                      -     C,   IN        ““0          9    L tL
                                                    rc .9 9j dna°’tOt              ‘\
                                                                                                                    hant has breachod or failed to
       0, arranae ttndar thts Agreerten                                            ‘ ntrutn s         it    hr..    dan
                                         t, or ii) the invotee or Tra:tsaetion Requ                                           t r.rL var1no                                     .



       R.equust relatuN, credit application or s&e                                  est or the transaction to u hich such invoice
                                                     of Olierings ‘Fra’diiien: or is subject                                         or Transacnou
                                                                                                            ‘
                                                                                              to any’ ela!m of iflugality. cancellat
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       aiopovee5, repreuntatves or franc
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                                                                                                                action, the execution of the transaction a.tho
     lean Auruene!tt. or rb ddivery
                                                                         quttit’. er performance of the          rozatori. cr:Oit appacanun or
     attnurued the transaction. or alleges that                        C)ffering purchased or any “arrantius there
                                                a creda adjustment to which l3orros er ssas                         to, or the Borrower has not
     the: etuttit •adjustrnent v.ac ised by Ntereh                                          entideJ tva recluested anti rerused by Nierchan
                                                    cot ht not :oted to the Loan due to \4eru                                               t or
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                                                                                              hant’s failure to .5mit the erecit adjuannent to

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          Case3:20-cv-16458-ZNQ-TJB
         Case                       Document 23-2 Filed 10/19/21 Page 24 of 38 PageID:
           payment                           631                                 Program Ageemgnt v.53
                           from Merchant for such amount (or set
                   payment from Merchant fir such exce             off or recoup such amount up to the
                                                       ss amount).                                     amount of sums due to Merchant
                                                                                                                                      and dcmand
                         (v)      ffthe flail amount due with respect to any
S
               be entitled to recover the unpaid amount                      Loan is charged back or otherwise refun
                                                          ofth                                                         ded by Merchant Merchant shall
               Merchant shall have no rights under the Loan e Transaction Request from the customer as ifthe financing had not occu
                                                              Agreement orto the proceeds ofthe Loan                                    rred,
               and risk oflosa associated with such Tran
                                                         saction Request without warranty by,         . In such event, Merchsntshall bear although
               Funding Participant.                                                           or recourse or liability to, Program Adm     all liability
                                                                                                                                       iniantor or any
                       (vi)    Program Administrator shall promptly
              Merchant is rcquked to address any disp                    notily Merchant of all requests by Borr
                                                         ute or other circumstance described                     owers br a chargeback
              Relevant Funding Participant and to Prog                                       in Section l2() to the reasonable satis or refund
                                                       ram Administrator, on behalfofthe
                                                                                          Relevant Funding Participant, within 15    faction of the
              notice ofany such chargeback or refund.                                                                             Business Days of
                       (vii)    There a chargeback or refund occurs
              that such chargeback or refund was not                   within 30 days following initial funding
                                                       due in any way to Merchant’s bad faith,                  and Program Adminisfltor determine
              amount of the Transaction Fee paid with                                            Program Administrator will refund to Merc            s
                                                          respect to the relevant portion of the                                              hant the
              Otherwise, GreenSky will have no obligation                                         Loan   to
              fees imposed by the applicable payment        to refund any Transaction Fees. In addition, which such chargeback or refund relates.
                                                      card                                                Merchants entitlement to receive a refun
              Funding Participants shall have no obligation network will be governed by the applicable nles thereof, and Program Administ          d of
                                                            with respect thereto.                                                            rator and
              I3               AuthorizatIon for Automatic Direct Depo
                                                                                         sits (ACH Credits) and DIrect Debits
                                                                                                       (ACH DebRa).
          (a)       Merchant authorizes Program Administrator
          entries for amounts that Program Administ             , on behalf of itself and Funding Participan
                                                     rator or Funding Participants may owe                   ts (as applicable), to initiate credit
          under this Agreement Merchant authorize                                            Merchant or that may otherwise be due
                                                                                                                                         Merchant
                                                      s
          Transaction Fees or (iii) the amount which Program Administrator to initiate debit enthes for (i) any credit entries in error,
                                                     Merchant owes under thk Agreement inclu                                                   (ii)
          amount od Merchant Such credit and                                                     ding Transaction Fees. which is more than
                                                    debit entries will be to the bank account                                                  the
          Administrator acknowledge that the origi                                            identified b> Merchant Merchant and Prog
                                                  nation ofACH transactions decñbed in this                                                   ram
          NACHA rules.                                                                         Section 13 must comply with applicable law and

          lb        The auchorintioib act funh in Section
          tskrhant must notify Program Administrator          l3Ca will remain in effect until the date
                                                         with                                            on which no Loan remain outstanding.
          ACH dcbits. Program Administrator agre              in three Business Days ofany change to the
                                                     es to                                                bank account for such ACH credits and
         information (i.e.. name and address ofthe bank compl> with sniucn notifications from Merchant that after Merchaw’s bank account
         Administrator receives such noufLcauon          or financial institution, transit’roudng num
                                                    in sufficient time and manner to give Prog beror account number), pmided that Program
         institution r.msonable oppoatnity to act                                                    ram Adminibtor and the bank or financial
                                                  on it.
         14                 Records.

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                                                                                                        ) ofMnchant and any error
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    •i’: C’ . tu iiV fj:.M)j) utili.ed                                           ilit ot Prngran: Adriini.stra:or. E!ccrtit!c tmus s in such tkta
                                       by Merchant tbr Lift’ tran;n: ;     ,f ttdnMel’LMI dati to th GreenSk> Pr’1idz              InHbioP shall be
    ,Xh:rA is: it.’ :j’tJ b, Prog
                                     ram Adniiniw                           a&oi                                               except to the exten                        t
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    II:   t;er aa Program Adminiwflr. at th dirt.n to any loan or trcistw:to’i ov:rd by this Agreeaicnr for such üne and in such
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          3:2Ocv16458-ZNQ’TJB Document 19 Filed 09107121 Page 41 of 55 PagelD: 423
    Case3:20-cv-16458-ZNQ-TJB
   Case                       Document 23-2 Filed 10/19/21 Page 25 of 38 PageID:
                                       632                                  Program
        (c)       Merchant agrees to permit Program                                                                                       Agreement it
        upon reasonable notic                           Administrator, at the direction and
                               e, Merchant’s books and records conc                             unde r the cont rol of
        application or fransacdon giving rise                            erning Merchant’s participation in the Funding Participants, to examine,
                                               to any Transaction Request OT Loan                                     GreenSky’ Pro
        under the control of Funding Participan                                         and to provide Program Administrator gram or any credit
                                                    ts, with such further information                                            , at the direction and
       participation in the OreenSlq$ Program                                               as may reasonably be required
                                                   or any credit application or transactio                                    concerning Merchant’s
       direction and under the control ofFund                                                 n. Merchant authorizes Program
                                                ing Participants, to obtain credit repo                                          Administrator, at the
       law, to obtain credit reports individua                                           rts with respect to Merchant and, to the
                                               lly with respect to all principals,                                                 extent permitted by
       Merchant’s business for participation                                        pflers or owners of Merchant, for
                                              in the Oreensk9 Program and for                                               the purpose of quah1ying
      the GreenSky Program. Merchant                                                  evaluating Merchant’s business for cont
                                            agrees that it is authorizing Program                                               inued participation in
      consumer reporting agency to provide                                              Aduilnisntor to obtain credit reports
                                                such report now and in the fare                                                   and instructing any
      retention and participation in the Gne                                          for the
                                                nSk9 Program. Merchant also agre puipose ofevaluating Merchant’s business for &twe
                                               ments, including Merchant’s balance es that, upon request, Merchant shall provide a copy of
      Merchant’s most recent financial state
      flows and any accompanying notes, in                                                sheets1 statements of income and retained
                                              reasonable detail and prepared in acco
                                                                                         rdance with generally accepted accountin earnings, cash
                                                                                                                                     g principles.
     (d)       Merchant will provide Program Adm
                                                       inistrator with all original or electronic
     be retained under this Agreement upon                                                        ally reproducible copies ofdocumen
                                               request within fi’.e Business Days,                                                      ts required to
                                                                                      or such shorter time as required by this
     is.       Operating Instructions.                                                                                          Agr eem  ent.

    (a)       Merchant shall satisfy all other
    time to timc by Program Administrator requirements designated in any Operating Instructions or as otherwise may
                                             , acting on behalf of Funding Parti                                              be required from
    Operating Insnctions are incorporated                                        cipants, and communicated to Merchant
                                             by reference into this Agreement In                                           . The terms of the
    Insthzetions and this Agreement, this                                         the event there is any inconsistency beti
                                           Agreement shall govern.                                                          ieen any Operating
    a,)       Notwithstanding the previsions rega
    Operating Instructions on the GreenSky          rding notice in Sectionil. Merchant
                                             ’ Program website and that doing              agrees that Program Administrator may
    that it has an ongoing obligation to chec                                 so will constitute notice thereofto Merch              post the
                                             k the website on a monthl> basis for                                       ant Merchant agrees
                                                                                  any updates or changes to the Operating
                                                                                                                           Instructions.
    16.       Information Security.

   (a)       Merchant shal no disclose, and shall
   any nonpublic personal information (s.             take all commerciall) reaaonable meas
                                               defined in the GrammLeachBliley Act,             ures to protect. Borrower Information, inclu
   and regulations). to (i) any third part>                                                its implementing regulations, and
                                                                                                                                             ding
                                            or (ii) any employee. officer, sharehold                                          other similar laws
  of Mcrchan: who is not engaged in                                                    er. member, partner, director, manager or repre
                                          the implementation and eweution of                                                            sentative
  information for Merehani to perforw                                             th. GreenSky Program and having a need
                                          its obligations and responsibilities unde                                               to know such
  clectronic orotherwise, any Borrower                                              r this Agreement. Mcrchant shall not retai
                                           Infor                                                                                n in any format,
  th foregoing if Merchant allows indiv mation be)ond what is required pursuant to this Agreement. V ithout by implica
                                              iduals to submit personal identif34ng                                                 tion limiting
  maintain a comprehensive privacy polic                                               information via the Internet, Merchant sha
                                             y with respect to iti handling ofsuch                                                  ll adopt and
  be ai ailable on Merchant’s Internet web                                          persOnal information and Merchant’s privacy
                                              sttes.                                                                                 policy shall
     (N        Merchant sha!l keep confldential and
                                                          nut disclose to any person (except tO
    partners. directors. nianagers or npr                                                                employees, officers, sli .rchoidcrs, members,
                                            :entati’.ei of Mercha’u who are enga
    Program) a? information, softre,                                                   ged
                                            systems and data thac Merchant rxeive, in the impbmentatioi and ececudon of the GreenSkyt
    relating to the GrecnskyS Program and                                                    from Program Adn’ini:rator or from any oth
                                               matters that are subject to the terms ofth                                                       er source
    information solely for the purpow of                                                      is Agreement and shal’ use, and cause to
                                              the performance ofMerchsnt’s oblig                                                            be used, such
                                                                                       ations under the tents of this Agivemen:
   IC.,       Program Adm:n;srn.r tsii. bep
  officers, shareho’ders. memben. partn contdenthi and not thsclos. to an> prson ietcep: Iund!nz Paniipants o.
                                              ers, dEtectors, managers, agents or                                                        th: employees,
  Mfiliate or itj designni ih, are                                                     represenWtives of Program Admini;nto
                                           engaged in the irnplemen2iion and                                                         r, its subsidiaries,
  Pragran; Ad’iinE3!rsnr r:c&’.t, fri.”.                                             execution of the GreenSky’ Program)
                                             Merchant that i. detgnated confidential                                               any information that
  :rz Pro0arn Adrrnnifla:•ir’                                                              b> .ttrckrr fIo.evs onthing h ñ!c kgreement shah
                                   , or Fimd’ng Piu*ipan.C nghts to (U’ repo
  .r.J: rptrt’ng a©n.1 s L1.i rei-’ bre                                          rt information rvgard:ng Borro’sers to con’
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  Cas 3:2Ocv16458-ZNQTJB Document 19 Filed 09/07/21 Page 42 of 55 PagelD: 424
 Case e3:20-cv-16458-ZNQ-TJB Document 23-2 Filed 10/19/21 Page 26 of 38 PageID:
   Informati
                                      633                                Program Agreement
                                                                                           v. i3
                       on shall he appropriately trained in
                                                            the implementation ofsuch informati
            regularly audit and review its informati                                               on security policies and procedur
                                                       on security policies and procedures                                           es. Each party shall
            determine whether adjustments are nece                                            and systems to ensure their continue
                                                      ssary in light ofcircurnstances, inclu                                         d effectiveness and
            or threats or hazards to Borrower Infor                                          ding changes in technology, customer
                                                     mation,                                                                        infonnation systems
         (e)      Merchant shall promptly notify Program
                                                              Administrator of any unauthorized
         security measures or systems for the                                                       access to Borrower infomation or
                                               protection of Borrower Information                                                          any breach in
        access or cure such breach. Merchant                                            and take appropriate action to prevent
                                                shall cooperate with Program Administ                                              farther unauthorized
        such unauthorized access or breach.                                                rator with respect to its investigation
                                             provide any notices regarding such                                                     or inquiry as to any
        agencies and government regulatory auth                                       unauthorized access or breach to appr
                                                  orities, affected applicants, Borrower                                      opriate law enforcement
        and under the conbol ofthe Funding                                                s and customers as Program Administ
                                             Participants, in its sole discretion, deem                                           iator, at the direction
                                                                                         s appropriate, and pay all expenses relat
                                                                                                                                     ed thereto,
       (0         Merchant agrees that Program Administ
                                                            rator, at the direction and under the
       upon notice to Merchant, review and                                                         control of Funding Participants, may
                                              audit Merchant’s information security                                                          at any time
       for protection of Borrower Information.                                           policies, procedures and systems to verif
                                                 Merchant will correct promptly any                                                   y their adequacy
       by Program Administrator in its revte                                            weakness in such policies, procedures
                                             ws thereof.                                                                         or systems identified

       I 7.         Borro%er Complaints.

      Within five Business Days ofreceipt,
                                             Merchant shall provide Program Adm
     the control oi the Relevant Funding Parti                                     inistrator, acting on hehalfof, and at the
                                                 cipant for the Loan to which such com                                        direction and under
     report ofany serbal complaint recei                                                plaint relates, with a copy ofany written
                                           ved from any Borrower or any third                                                      complaint or a
     will cooperate with Program Administ                                        parry, including any regulatory authority
                                              rator, acting on behalf or and at the                                         . Merchant agrees it
     Participant, in responding to complain                                          direction and under the control ofç the
                                               ts, which cooperation may include                                               Relevant Funding
     authorization to submit a credit applicati                                      prey iding documents evidencing applicant
                                                on or transaction.                                                                   or Borrower
     I 8.          Term. Suspension and termination.

     (a)           This Agreement shall be effective on
                                                          the date of Program Administrator’s
  (irecnSkv Program and shall remain                                                      notice of Merchant’s approval to participat
                                                 effective until either parry gives the                                               e in the
  Agreement. The terrrtination of thi                                            other pan> written notice of its decision
                                         Agreemen: shall not affect the right                                                to tenminate this
  respect tü matters relating ta loans orgin                                  s of’ either pans to rccocr tor oreaches
                                             a.ted) nor thereto or w ith respect                                           occurring (or witn
  temts continue after termination, inclu                                        io provi sions ot th:s Agreerneni that by
                                          ding Section 25,                                                                 tne nature of tneir

 ib         In addtion to the right of tcminat
                                                  on under this SecuonJS;, Program Adm
 suspend t’.lerchant’s ability to subm                                                      inistrator, upon written notice tu Merchant
                                        it new funding transactions on appr                                                              . may
 Agreernen:. Such susnensiun ‘will be                                        osed toai or submit new credtt appl
                                          for so long as Program Administrator                                       ications pursuant to this
 :\dr’r’inistritur or to resolve consumer                                       specifies to resolve disputes between Merc
                                           or Borrower cornplaims related tu the                                            hant arid Program
                                                                                 tireenSky x Program.
 (ci              No:%ithstandng tenriination ofthis
                                                       Aerveretent, the provisions ofthis Agre
 Trantaeton R.eqoe:.s accepted or appr                                                        ement ‘li conTinue n lull three and effect as
                                                oved by a funding Participam wide                                                              to aL
however, Oat if nn authodza:ion num                                                   r the GreenSkyZ Progr tm prior to term
                                    ber ftr            a Transaction Request is no lunger                                       ination; provided,
PartLipan will he ebligated u accept                                             ald. neither Program Adi’rdnisu-ator nor any Fund
                           ‘
                                     such Transaction Request. In the even                                                          ing
tO Merchant in connection with the Greenskya                               t that Procrum Administrator has provided
                                               Program, MerLhant agrees to return                                       any’ equi pme nt
tennination ofthis Aereemen:                                                         such euuipmen.t to Program Administrator upon

 id      in the ever,: Oi b’eoch ut this Agrecn’e
                                                   nt by either party the non-breachin
 and remedies az shaH be available to                                     ,
                                                                                       g. pam’ cdl be entihed tc c: erche any and all dgh
                                        it at law or in equity. The non-
                                                                         breaching party may exereisa remedies                             t
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                            Th.                                                                                  concurrently or separately.
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i.e med                                                              tt          r -“i’d     nrL             F.. ,,,b    a

               Resera -\ccount; Related 1atrers,
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     Case3:20-cv-16458-ZNQ-TJB
    Case                        Document 23-2 Filed 10/19/21 Page 27 of 38 PageID:
       may, on behalf of                 634
                                       Funding Participants, withhold from any
                   Program Adnunisntormay, on bebalfofF                             amounts owed Merchant in respect of any
    b
                                                              unding Participants debit Merchant’s                                Transaction
                   necessaly to fund a reserve CRncrve Acco                                           bank account, an amountProgam AdmRequ        est, or (z)
                                                                                                                                              inistrajogm
                                                                unt”). Program Administrator may char
                  o’Its Program Athoinistrator or Funding                                                    ge to the Reserve Account any amount
                                                               Participants or that is otherwise due
                  obligations to Program Administrator and                                                from Merchant under this Agreement. Merchant
                                                               Fund
                  Reserve Account does not excuse Merchant ing Participants shall not be limited by the amount held in the Resent Merchant’s
                                                                                                                                               Account. The
                  Merchant shall not be entitled to any interest from paying any amount that Merchant would otherwise owe under this
                                                                 on amounts held in the Reserve Account                                          Agreement
                  any amount remaining in the Reserve Acco
                                                                unt when Program Adminisntor deter Program Adminisator will return to Merchant
                 provided, however, no refund shall be mad                                                 mine
                                                               e later than one year from the tennination s a Reserve Account is no longer necessmy;
                 occurrence ofany ofthe events described                                                       date ofthis Agreement In addition,
                                                             in clauses (a), (b) or (c) ofthe rust sente
                 on behalf of itself and Funding ParticIpants,                                           nce ofthis Section 19, Program Athnin upon the
                                                                 impose such limitations on Merchant’s parti                                    isntor
                 such other action, as Program Adminisntor
                                                                deems appropriate.                               cipation in the OrecnSk9 Program, may,
                                                                                                                                                     or take
                 20.           Merchant Ineligible for Loan.

                 Merchant acknowledges and agrees that neith
                 employees or an member oftheir immediat er it nor any of its owners, diiectois, officers, members, managers, representa
                                                        e families is eligible for a Loan.                                               tives,
                 21     AssIgnment.

                 (a)      Merchant may not assign this Agreemen
                at the direction and under the control of, Fund t without the prior written consent of Program Administrator, acting on beh
                                                                  ing Participants; an purported assignme                                          alfo and
                Adrrdnisfltor and Funding Participants may                                                  nt without such consent shall be s oid. Progt
                                                                 assign this Agreement and any of the right                                               ram
                event ofsuch assignment, the assignee there
                                                               ofshall have the same rights and remedies s or obligations hereunder at any dmo. In the
                that such assignor shall not be relieved ofits                                              as any
                                                                obligations hereunder arising prior to such assig assignor under this Agreement provided
                assignment of all or substantially all of its
                                                               assets and the assignee assumes its obligation nment unless such assignment is pad ofan
                binding upon the parties and their successo                                                     s hereunder. Otherwise, this Agreement ia
                                                             rs and assigns
             0’)      Merchant acknowledge’, that Program
            under the GreenSk Program and tint such Administrator will enter into agreements with Funding Pafticipsnb to provide financing
                                                           perso
            shall be a third pifly bendficiar> ofthe obligation ns will originate and own the Loans contemplated hereby. Each Funding Participant
                                                               s ofMerchant hercunda and shall have the
            enforce (but not to the ecliston ofGreenSky                                                   bene
                                                            for its own accounO such obligations with respe fit ofsuch obligations and the right to
            is the Relevant Funding Panicipam.                                                             ct to any Loan(s) ith respect to which it

        22               Insurance.

 Dunng the term of this Agreement and there
                                               after
 Merchant shall maintain at iL expense insuranc for so l’ng as Merchant has any obligations with respect to the GreenSk9 Program,
 size in the industry in which Merchant operates e in such amount and against such riks as ii customary for businesses ofa comparable
 or that otherwise is reasonah’y scceptable to      Insurance coverage shall be issued by a carri
                                               Program Administrator, acting on behalfof,         er rated “A YIN” or higher b> AM. Best
 Funding Panicpants, whtch acceptance will                                                   and at the direction and under the control of,
 Paflicipanb. Program Admnisntor and Fund not be unreasonably withheld. If requested by Program AdminWrstor or Funding
                                                ing
Program Admitstrator acting on beha!fof Fund Pmicipants shall be named a3 additional insureda under each policy Ifrequested by
insurance e.idencing such insurance cove
                                                   :ng Participants, Merchant sha!l proside Prog
                                            rage and renewals thereof. Merchant shall              ram Admniswator vJth a certificate of
insurance policy is cancelled. not renewed                                                notify Program Administrator if any required
                                            or modifed in any material respect within
rnodificaton.                                                                           15 days ofany sach cancellation, non-renewal or

                        Merger and IntLgratlon.



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    Case 3:20-cv-16458-ZNQ-TJB Document 23-2 Filed 10/19/21 Page 28 of 38 PageID:
       2%.
                                        635                                ProgTam Agreemen
                  indemnification ; Related Matter                                                                                                                                                                                                                           t v   5.3
                                                  s.
          (a)      Merchant shall indemnify, defe
                                                         nd (at Merchant’s Sole expe
          Administrator acting on behalf of,                                                nse and with counsel reasona
                                                 and at the direction and under                                                bly acceptable to Prog
         Administrator and any Funding Par                                          the control o1 Funding Participan                                       ram
                                                ticipant that hinds or owns a Loan                                        ts), and hold ham-doss
         their respective officers, directors,                                          (or the economic rights thereto) to                           Prog  ram
                                                   shareholders, members, partners,                                           a customer of Merchant
           GrecnSkyfpgrarn1ndumni&dPe                                                     managers, employees, representat                                 (and
                                                 rson ) ‘rom and against an and                                                  ives and agents) (each
        damages, administrative charges                                              a1 losses cinImN insestigtioim litiga                                     a
                                             and expenses (including aUom                                                      tion proueedmgs lnbihti
        indirectly arising out ofor related                                    eys’ fees) of any kind whatsoever                                            e0
                                             to Merchant’s breach ofany oblig                                          (collectively a ps”) dire
        (i) breach of any representation,                                          ation owed to Program Achuinist                                      ctly or
                                             warranty or covenant of Merchant                                          rator or any third party,
        Agreement Compliance Addendum                                                  contained in this Agreement, incl                            including:
                                                attached hereto; (ii) failure of                                            uding the Merchant Prog
       rule, regulation or ordinance; (iii)                                       Merc   hant to comply with any applicable fede                           ram
                                            any Loss sustained by or threatened                                                      ral, state or local law,
       in whole or in part to negligence,                                             against any GreenSkt® Program Inde
                                                 fraud, error (whether negligent                                               mnified Person artdbutable
      subeontraeters, representatives or                                              or not), omission or misconduc
                                            agents; (iv) any Loss sustained                                               t of Merchant, its employ
      by reason of or attributable in who                                      by or threatened against any GreenSky®                                     ees,
                                                 le or in part to, Merchant’s                                                Program indemni fled Person
      responsibilities, to any person, incl                                       failure to perform any of its obl
                                            uding failure to pay Transaction                                           igations, or discharge any
      Merchant or any breach of any exp                                          Fees when due: (v) any defect in any                                   of its
                                              ress or implied warranty in conn                                             Offerings sold or provided
     bankruptcy or insolvency proceedin                                            ection with such Offerings; and (vi)                                     by
                                              g by or against Merchant; prov                                                any voluntary or involtintar>’
     secuon1aEiJ to the extent a Loss results                                    ided   that Me  rch ant shall have no obligations or liab
                                                     solely from the gross negligence                                                        ility under this
     Person. Merchant further agrees                                                      or willthl misconduct ofa GreenS
                                            to reimburse each GreenSky® Prog                                                     ky’Prograrn indemnified
     expenses (including expenses related                                             ram Indemnifled Person upon dem
                                               to investigation, settlement, com                                             and for all legal and other
     Indemnified Person in connection                                              promise or satisfaction) incurred
                                           with any ofthe foregoing.                                                   by any such GreenSky® Program

     (b)     Merchant agrees that if it breaches
    (regardless of the validity thereofl                any representation or warranty
                                          arising out of any transaction evid               herein or if a Borrower asserts any
                                                                                 enced by any credtt application, Loan                   claim or defense
    Request or cancels any transaction                                                                                      Agreement or Transaction
                                          evidenced by any credit application,
    on demand the amount ofany 1 oan                                                Loan Agreement or Transaction Requ
                                           affected, pius any finance or othe                                                 est, Merchant will refund
    and hold the GreenSky’ Program                                              r charges related to such Loan Me
                                         lndetmnifled Persons harmless for                                            rchant also agrees to indemnify
   auomes’ fees, which any GreenS                                                an and all hreache ofwarrantie
                                         k9’ Program Indemnified Person                                             s, damages and costs, including
   on its OWII behalf or on behalf of Fund                                    rna\ sustain as a result of any such
                                               ’ng Participants (as applicable)                                       event. Progns.m Administrator,
   Adminictratoror Funding Participan                                              may, at its option, deduct any amount
                                          ts pursuantto this paragraph Ib)                                                    Merchant oxves Program
   Administrator or Fund:ng Participan                                       or any otherprovision ofthms Agreemen
                                           ts may owe Merchant. Where Merc                                                t from any amount Program
   Indemnified Persons harmless, or                                                 hant has reimbursed indemnifled
                                       where Program Administrator, on                                                   or held GrecnSk> Program                             ..




   has deducted such amounts from any                                        its  own   behalfor on behalfoffunding Panicip
                                            amount Program Administrator or                                                         ants (as applicable,).
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  acceptable to Merchant) and hold                                                       un:strator’s some expense and web
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 applicable federal. state. or local law,                                               L’mre to comr       ‘ h inc ttws
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                                             rule, regulation or ordmnunce; provided                                                              urr
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    26.    Nonwalver and              636
                                    Extensions.
       The parties shall not by sny act, dela
                                               y, omission or otherwise be deemed
       agrees that the other party’s failure
                                             to ethrce any ofits rights under this to have waived any rights or remedies hereunder. Each party
       any other instance.                                                         Agreement shall not affect any oth
                                                                                                                     er right or the same right in
       27.      Ownership ofGnenSky Progra
                                                     m.
       Neither Merchant nor any pamnt, sub
                                             sidiaxy or other Affiliate ofMerchant
       ownership interest in any elements
                                            of the GreenSk9 Program, includi shall by virtue ofifils Aeement secure any title to or other
       materials, programs, systems, screens                                      ng the Operating Tnsmicfions, written
      Funding Participant’s exclusive pro or any documentation or materials relating thereto, which are Progra specifications, niniag
      GreenSkyt Program only               perty. Merchant agnes to                                                  m Administrator’s or
                                 for the purpose ofenabling Merch use the elements of the Greensky Program and information abo any
      no other purpose.                                              ant to use the GreenSky Program                                   ut the
                                                                                                       provided under this Agreement
                                                                                                                                      and for
      28.      RIghts of Persons Not a Party.

      Except as expressly provided herein,
                                              this Agreement shall not create any
      a third party beneficiary or otherw                                         rights on the part ofany person not
                                          ise.                                                                        a par      ty hereto, whether as
      29.     Goierning Law; Severability.

   This Agreement shall be governed
                                         by and construed in accordance with
   oflaws provisions thereof. Liany pro                                       the
                                            vision ofthis Agreement is found laws ofthe State ofGeorgia without reference to the conflict
   provision shall be deemed ineffective                                       to
                                            sithout invalidating the remaining be illegal, unenforceable or conaty to applicable law, such
   the effect to the greatest extent pos                                        pro
                                        sible to the intentiona ofthe panics as visions hercofand this Agreement may be reformed giving
                                                                                reflected by the ineffective provision.
   30.      Endependent Contractor.

  This Agreement does not (and sha
                                    ll not be construed to) establish a par
  business association benseen Merch                                         tnership, joint ventuc, agenc, rdation
                                      ant                                                                            ship or other form of
  arc independent conflctors, and neit and Program Adrruniswator or any Funding Participant Pmgram kdm
                                      her party shall have the authority to                                       inistrator and Merchant
                                                                            speak for, commit or bind the other par
                                                                                                                    ty.
  31       Actions of Employees.
 Ea...h party is responcibl: for the acti
                                          ons
 such former employee will ke reas ofits employees. In the event employrnentofan employee is temunated, the
                                           ona
 itemc (including changing any pas b.c steps to ensurc that such former employee no longer hss access to the prny that employed
                                           swords necessary to access such info                                           GreenSk9 Program
 or arising from, the Grecnskyt Pro                                             rmation or system or any confidentia
                                        gram).                                                                       l information relating to
 32         NotIces.
 All ekrmnth ..awec and c.c.rnbnica
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                                 This Agreement, through executi
                                                                 on of the Application, may be exe
                                 which shall be deemed an original                                 cuted by facsimile or some other enf
                                                                   .                                                                    orc                                                                                                                                                                                        eable electronic signature,
                             34.                    Marks.

                             Merchant hereby grants Program
                                                            Adminisntor, on behalf of itself and
                            ndemarb, logos and other marks                                         Funding Participants, a nonexclusi
                                                            in connection with the administrat                                        ve license to use its name,
                            tenti ofthis Agreement.                                            ion and operation ofthe GreenSky’
                                                                                                                                   pgg during and after the
                            35       Press Release.

                             Merchant apea not to issue any
                                                                   announcement concerning the Gre
                            Administrator or any Funding Par
                                                                ticipant in a press release or other enSky’ Program or Merchant’s relationship with Program
                            Adrninisfrator’s prior written consen                                   similar communication to the gen
                                                                  t.                                                                eral public without Program
                            36.     Call MonItorIng.

                         Vith respect to any calls Program
                                                           Adminiswator may make to Merch
                         acknowledges that such calls may be                                ant or Merchant may make to Pro
                                                             monitored or recorded by Program                               gram Administrator, Merchant
                                                                                              Administrator for quality asunnce or
                                                                                                                                   other purposes.
                         37.     DAMAGES; AflORNTYS’ FEE
                                                                   S.
                    MFRCITA.NT SHALL BF LIABL
                                                E TO GREENSKY1 PROGRAM
                    APPlICABLE LAW AND COSTS                                NDEMNIFIE[) PERSONS FO
                                                  NC                                               R ALL DAMAGES UNDER
                    OREENSKY5 PROGRAM 1NDEMN URRED iN ANY COLLECflON ACTION OR OTHER LEG
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                    COURT (‘05Th, INTEREST, FIliNG                        AGAINST MERGRNT.QNCLU
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                    EXFVf PERMITTED BY LAW,
                                                   1\ NO EVENT SHALl ANY                   %VNATSOEVER). TO THE MAXiM S,
                    MERCHANF OR AN3 OTHER                                    GREENSKY INDEM\9FTFD PER                 UM
                                                  PERSON FOR ANY GENERA                                SON BE LIABEF TO
                    CONSEQUENTIAL. OR COVER                                  L PUNITIVE, SPECIAL. INDIRE
                                                DAMAGES. JNC[ UDING 1.055                                 C1, iNCIDENTAL,
                    OTHFR SIMILAR DAMAGE OR                                OF PROFIT, LOSS OF PERSONA
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                    3.’                       JURISDICTION.
             ANY SUIT, (‘OUNTFRC’LAIM AC
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                                           VtL ICH MAY IN ThE FUTURE BE DEliV                         HER DOCVMPNT
             THERFWLTH, OR ARISiNG FROM                                       ERED IN CONNECTION HEREWI
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             BROUGHT BY EITHER PARTY                                N CONNECTION WITH TILlS AG
                                       EXCI US1WLY IN THF STATE                                   REEMENT, MUST BE
            OR N TINE UNITED STATES DIS                          OR SUPFRIOR COURT OF FUl
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            HEREBY 1RRfVOCABLY SL’B!.f                               hERN DISTRICT OF GEORGIA, AND TY. GEORGIA
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            COURTS THEREOF FOR THE                                  ICTION OF SUCII COURTS AN
                                       PURPOSE OF ANY SUCH SU
                                                                 iT. COLNTERCLALM, ACtION
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            JUDGMFNT THEREON QT BENG                                                           OR PROCEEDING OR
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            Cot ‘RTS WAIVES 4S7 RIGHI TO S’BMIT AN                 NSENT TO THF EXCL.’ ‘SR’E JUR
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            ABOVF’                                   Y DISPL7ES HEREUNDER TO
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       40.     Further Assura              638
                                       nces.
            Each party hereto agrees to execute
                                                all such additional documents and
            hereto may reasonably request in ord                                  inst
                                                 er to vc effect to and consummat ruments and Lo do all such further things as the other party
                                                                                  e the transactions contemplated her
                                                                                                                      eby.
            41.     ConstructIon.

             (a)      For purposes of this Agreement
             masculine gender includes the feminin whenevcr the context requires: the singular number includes the plu
                                                      e and neuter genders; the feminin                                            ral, and vice versa the
            neuter gender includes masculine and                                           e gender includes the masculine and
                                                     feminine genders.                                                            neuter genders; and the
            0’)      The panics hereto have participated join
                                                                 tly in the negotiation and draftin
            question ofintent or interpretation aris                                                g ofthis Agreement and, in the
                                                     es, this Agreement shalt be constru
           or burden ofpmofshatt arise favorin                                            ed as jointly drafted by the parties her event an ambiguity or
                                                  g or disfavoring any party by virtue
                                                                                          ofthe authorship ofany provision oftheto and no presumption
                                                                                                                                  is Agreement.
           (c)       As used in this Agreement. the wor
           limitation, but rather will be deemed             ds “inc lud e” and “includLng,”
                                                  to be followed by the word iithout and variations thcreot i;itt not he deemed to be terms of
                                                                                           limitation.”
          (d)       Fxcept as otherwise indicated, all refe
          to Sections ofthis Agreement and Exh                rences in this Agreement to ‘Se
                                                   ibits or Schedules to this Agreement ctions,” Exhibits” and &hedules” are intended to refer
      (e)      All tents defined in this Agreem
      hereto unless otherwise defined therein ent shall haie thedefined meanings when used in any document mad
                                                                                                                              e or delivered pursuant
      (0       Any agreement, instrument or statute
                                                        defined or referred to herein or in any
      means such agreement, instrument or                                                       agreement or instrument that is referred
                                               stat ute as from time to time amended, mo                                                 to
      agreements or instruments) b3 wai
                                           ver or consent and (m the case of                  dified or supplemented, including (in the herein
      references to all attachments thereto                                       stat                                                     case of
                                            and instruments incorporated thrcin utes) by succezsion of comparable successor statutes and
                     lh? word “or”, when used in thk
                                                           Agreement is not exclusive.
     42.          DefinitIons.

     For purposes ofthis Agreerr.e•

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              (I)    “Funding Participants” an         639
                                                           the fed
                         loans originated through the OreenSk9 erally insured financial institutions and other persons holding dde and
                                                                Program.                                                               /or economic rights to
                      0)      “GreenSk9 Pmwam” is a lend
4
                      make conaumer loans to customers ofm ing program administered b> Program Administrator on behalf of Fun
                                                            achants in connection with their pur                                   ding
                                                                                                 chases ofgoods, services or merchandi Participants that
                                                                                                                                      se from merchants.
                      0’)    “GreenSky’ Program Indemnified Per
                                                                    son” is defined in Section 25()
                     (1)     “Invoice’ is defined in Secdonl(eY
                                                                iii).
                     (m)              ‘SLoan” is a loan to a Borrower created
                                                                                                    pursuant to the GreenSkf Program.
                    (n)     “Loan Agreement” is a written agreem
                    ofa Loan.                                    ent between a Funding Participant and
                                                                                                       a Borrower containing the                                       terms and conditions
                     (o)    “Loan Documents” are the Loan Agr
                    communications from a Funding Partici           eement associated Tmth4n-Lend
                                                           pant (including documenation reg           ing Act disclosures and other
                    Program Administrator, acting on beh                                     arding online Borrower accounts and des documentation and
                                                         alfofFunding Participants, to collect                                      cribing the dgbts of
                                                                                               from past due Borrowers).
                    (p)    “Loss” is defined in Section 25(ai

             (c;)       ‘Merchant” is the person named as Me
             that is not publicly-traded, shall express          rchant in the Application and, for pur
                                                        ly include all persons who, directly             poses ofSaion 25(a with respect to
            by par                                                                             or indirectly, have an ownership interest        a Merchant
                    ticipating in the GnenSk9 Program,                                                                                   in Me
            necessaly for them to be included in the         Me rch ant rep rese nts and warrants that                                         rch ant (and,
                                                        definition ofMerchant for such purpoce all authorizations and appro%alb ofany such persons
                                                                                                    hate been obtained).
            (r)        “Merchant Indemnified Person” is dtfl
                                                                ncd in Secsionjjcj
          (5)       Offcrings” are any goods, services
          offcrcd, sold, distributed, provided or insta or merchandist that Merchant offers. sells, disthbuk’s, provides or inst
                                                        lled on behalf of Merchant, other than                                                 alls or
          Program Administrator as not eligible
                                                  ior the Program in the Operating Inst                 any goods, sen ices or merchandise des that are
                                                                                              ructions or othernise in a notice provided            ignated b
                                                                                                                                             to Merchant.
         it)       ‘ Operating lnstm:t
                                       ioni” arc any instructions or procedure
        of Funding Panicipants, communicate                                        s that Program Administrator, at the directio
                                                    to                                                                              n and under the control
        dir are applicable enly to the Merchant Merchant and updates from time to time, provided that updates to the Opera’i
                                                   and not other Merchants generally sha                                                       ng Instructions
                                                                                                lt not be eftèctive Unlc5i accepted b> Merch
                                                                                                                                                ant in writing.
        ‘ul       ‘penon” is an individual, cnrporaüon,
        organivation or other entity                        pin ner ship , lim ited liab ility company, joint venbre, asioctation
                                                                                                                                     , trttcL unincorporated
         VI       ‘Program Admini;tncor” is CireenSk
        and pzrrJtcd dcsire., acting as pro         >. I LC. a Georgia limiwd liability
                                             gram adminiswacor for Ow GNenS             company, tng,nher v.ith its Afñliates, permit
        Parti.npdnts                                                           kyt Program at the dtrecr.ioti and wider              ted assign%
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Case 3:20-cv-16458-ZNQ-TJB   Document 23-2 Filed 10/19/21 Page 33 of 38 PageID:
                         Merchant Progra 640                    m Agreement Compliance Addend
                                                                                             um

                                                GreenSky Program Fair Lending
                                                                                            Commitment
    The Equal Credit Opportunity Act (“ECO
   decision whether to extend credit to an appl  A’ apples to all persons who in the ordin
   OreenSk9 Program in a manner that complies      icant The Funding Participants expect ary comic ofbusbess regularly participate in the
                                                      with the ECOA and its enacting reguProg            ram Adndnisntor and Merchant
                                                                                                   lations.                                  to offer the
   The ECOA prohibits discrimination in the
   against because of the person’s nec, colo granting ofcredit and further states that the applicants for credit shall not
  capacity to enter into a binding contract), r, religion, national origin, sex, marital status, or age (provided that the be diacrhnnated
                                               the feet that all or part ofthe applicant’s
  or the fact that the applicanLhaa in good filth                                                                                     applicant has the
                                                   exer                                         income derives from any public assis    tance program,
  apply to credit products and expand the defin         cised any   right  under the federal Consumer Credit Protectio
                                                  ition  ofpro tecte  d class  es to                                         n Act Sate laii may also
  addition, the ECOA contains rules as to cred                                       include, among other thinga, a person’s sexual
                                                  itor requirements for comakera or co-a
                                                                                                  pplicants on an extensions of credit.orientation. In
  To help ensure compliance with the ECOA,
                                                set forth belov are certain requirements
                                                                                                 andprocedures with which Merchant mus
       1.        Merchant must obtain a completed Prog                                                                                        t comply:
                 applicant must verify its accuracy and authram  Adm    inist rator -app rove d cred it application on each applicant Each
                 the applicanfs credit background.             orize Program Adminisntor and Fund             ing Participants to investigate
      2.         Merchant must advise each applicant that
                 Funding Participants                         the credit application will be sent to Prog
                                                                                                                 ram Adminisfrator and the
      3.         Merchant must take all reasonable steps,
                Security number and date ofbifth, to deterincluding obtaining complete applicant name, physical address, Social
                the applicant has a valid govemment4ssuedmine and authenticate the identity ofan applicant and to confirm that
      4.        Program Administrator, on behalf of the photo identification document
                including ECOA notifications, to each         Relevant Funding Participant, will send
                                                                                                                 an adverse action notice,
      5.        Merchant represents and nmnts toapplicant whose request for credit cannot he approved.
                requfrcments of ECOA and an> reg Program Administrator that the Merchant will comply with the
                federal or state agencies, including theulahon, policy statements, and guidance
                Federal Resent System, the Federal Depo   Consumer Financial Protection Bureau, prom        the
                                                                                                                  ulgatcd or announced by
                                                               sit Insurance Corporation, or the office         Boar d of Governors of the
               Currency, concerning cornpliance with                                                            of  the
               general obligation to comply with FCOECO          k or other &ir lending reqairernents. With C ‘omptroller of the
               Borrowers are offered to all Borrower        A.   Merc   hant represents and wawaqts any plansoutmad       limitation of the
                                                                                                                             e av2ilablc to
               competitive business reasons and in a s equall> and ar negotiated with Borrowers using only good faith.
               ECOA; and that loan, originated b> Mcrc     man  ner  that  don not discriminate agar any protected
               of a prote                                  hant, taken as a group, willnot reflect anynst    disparate
                                                                                                                                class under
                         cted clan                                                                                  impacL orweatmcnt
Fazlurc to ornpl> isith the terms w th
                                       Machan’ Program Agreement Cornpiian
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                                                                                                                                 ement.
Case 3:20-cv-16458-ZNQ-TJB   Document 23-2   Filed 10/19/21   Page 34 of 38 PageID:
                                      641




                             EXHIBIT D
Case 3:20-cv-16458-ZNQ-TJB   Document 23-2     Filed 10/19/21   Page 35 of 38 PageID:
                                      642


                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

 George T. Dougherty, Esquire (247791969)
 KATZ & DOUGHERTY, LLC
 4020 Quakerbridge Road
 Trenton, New Jersey 08619
 609—587—1199
 Attorneys for Plaintiffs, Laraine Conte
 And Janet Guarino

 LARAINE CONTE AND JANET       :   Civil Action No:     3:20-cv-l6458-ZNQ-TJB
 GUARINO,

       Plaintiffs,

 Vs.

 SAM SHEAR and MIKE            :   PLAINTIFF JANET GUARINO’S ANSWERS
 WINBERG, Individually         2   TO INTERROGATORIES
 As as Principals,
 Managers of def.
 PREMIER WATERPROOFING
 LLC And JOHN DOE and
 ABC CO.

 TO:   Jeffrey Heldman, Esquire
       VAZQUEZ HELDMAN
       18 Hook Mountain Road
       Suite 201
       Pine Brook, New Jersey 07058

       PLEASE TAKE NOTICE that the plaintiff Janet Guarino hereby

 provides responses to defendants First Set of Interrogatories

 within the time provided for by the Rules of Court.

                                     KATZ & DOUGHERTY, LLC
                                     Attorneys for Plaintiffs


 Dated:                              By:
                                           George T.   Dougherty
Case 3:20-cv-16458-ZNQ-TJB           Document 23-2       Filed 10/19/21      Page 36 of 38 PageID:
                                              643


     DEFENDANTS’ FIRST SET Of INThRROGATORIES TO JANET GUARINO

        1   .    State the full name of the person answering these interrogatoñes.

                 RESPONSE: Janet Guarino




        2.       for Janet Guarino’s cellular phone, state the cell phone number and the
 identification ofthe cell phone carrier for the time period covering January 1, 2018 through
 December 31, 2018.

                 RESPONSE: Verizon Wireless 609-306-8942




        3   .    Please state whether you were present for a meeting between Laraine Conte and

 Mike Winberg on or about February 16, 2018, and ifso, please state in detail the substance of that

 conversation.

                 RESPONSE: Yes, I was present for an estimate from Premier
                 Waterproofmg for the cost ofLaraine and Mark Conte’s basement. Present
                 were myself, Larame Conte, Mark Conte and Teresa Guarino.




        4.       Explain in detail how you were able to get approval from GreenSky financing to

 pay for the services rendered by Premier Waterproofmg LLC on the Conte Property.

                 RESPONSE: Since my sister’s credit was not good, Mike Winberg
                 checked my credit and suggested I apply for fmancing. I was approved by
                 GreenSky for $30,000. Mike suggested GreenSky because the company
                 did not require the borrower to live within the household.
Case 3:20-cv-16458-ZNQ-TJB          Document 23-2         Filed 10/19/21      Page 37 of 38 PageID:
                                             644


        5.     Attached hereto as “Exhibit AA” are forms signed by you and submitted to

 Green$ky fmancing. Please state if GreenSky required your name to be added to the contract for

 Premier Waterproofing LLCs services to be rendered on property owned by Laraine Conte.

               RESPONSE: Green$ky did not require my name to be added to the
               proposal for Premier Waterproofmg. It was never mentioned to me. Yes I
               did sign my name on the Green$ky loan application, but not to any form of
               contract with Premier.




        6.     State how many times You called or otherwise contacted Premier or any other

 defendant between March 16, 2018 and August 30, 2018.

               RESPONSE: I cannot remember the amount oftimes Sam and I spoke.
               However, Sam contacted me because Laraine was too upset and dissatisfied
               that Sam wanted me to be the mediator between the two. I only called Sam
               when I had missed a call from him, I believe no more than two times.




       7.      for each time stated above in 7, state the reason for the call or other contact.

               RESPONSE: Sam Shear first contacted me because GreenSky would not
               make payment questioning why there was an additional $4,000 added to the
               Premier proposal of $2 1 ,000. Sam told me that he had tried to pub a total
               of $25,000. onto the GreenSky account and GreenSky would not approve
               that because it was in excess ofthe $21,000 that was the basis for the
               Premier charges. This was further explained by defendant Winberg in the
               attached March 4, 20 1 8 email in which he admits increasing the total cost
               ofthe proposal from $21,100 to $25,000 by charging me for the bank
               charges required by GreenSky to be paid by Premier and passed on to the
Case 3:20-cv-16458-ZNQ-TJB    Document 23-2      Filed 10/19/21   Page 38 of 38 PageID:
                                       645


             Contes. Attached are my handwritten notes ofmy call to GreenSky and the
             materials sent to me to confirm that Premier was not permitted to add the
             bank charges to their proposal amount of$21,000. See GreenSky
             Merchant Program Agreement, Page 3, Section 5 (b)
